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     LAIMIRO BOBADILLA
 6

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                     ) CR. No. 1:18-CR-00156-DAD-BAM
                                                   )
11                                                 ) STIPULATION AND ORDER FOR
                               Plaintiff,          ) CONTINUANCE OF CHANGE OF PLEA
12                                                 ) HEARING
     vs.                                           )
13                                                 )
     LAIMIRO BOBADILLA,                            )
14                                                 )
                                                   )
15                           Defendant.            )
                                                   )
16                                                 )
                                                   )
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            Defendant, LAIMIRO BOBADILLA, through his attorney ROBERT L. FORKNER,
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21   together with the United States of America through its undersigned counsel, VINCENZA

22   RABENN, Assistant United States Attorney, hereby stipulate and request the following:
23
            1.     That the Court continue the change of plea hearing in the above-captioned case
24
     from July 15, 2019, to October 7, 2019 at 10:00 a.m.
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            2.     The government has recently provided discovery associated with this case that
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27   includes recorded statements given by Mr. Bobadilla that my office previously did not have..

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            3.      A continuance is requested to allow defense counsel time to review the newly
 1

 2   disclosed discovery with his client, to discuss potential resolutions and file any motions before

 3   the currently scheduled date. The government has been notified and have no objections.
 4
            For these reasons, the parties stipulate and request that the Court exclude time which the
 5
     trial must commence under the Speedy Trial Act from July 15, 2019 through October 7, 2019 for
 6

 7
     defense preparation under 18 U.S.C. § 3161 (h) (8) (B) (ii) and (iv).

 8
     IT IS SO STIPULATED.
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10
     Dated: July 8, 2019                                    /s/ Robert L. Forkner
11                                                          ROBERT L. FORKNER
                                                            Attorney for Defendant
12
                                                            LAIMIRO BOBADILLA
13
     Dated: July 8, 2019                                    McGREGOR W. SCOTT
14                                                          United States Attorney
15
                                                            by: /s/ Vincenza Rabenn
16                                                          Vincenza Rabenn
                                                            Assistant U.S. Attorney
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18
                                                  ORDER
19
            The change of plea hearing currently set for July 15, 2019 be continued to October 7,
20
     2019 at 10:00 a.m. Time is excluded pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) and 3161
21
     (h)(7)(B)(1) through October 7, 2019.
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     IT IS SO ORDERED.
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24      Dated:     July 11, 2019
                                                       UNITED STATES DISTRICT JUDGE
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